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 1                                 UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3                                                    ***
 4    RONALD ALLISON,                                             Case No. 2:20-cv-1803-KJD-EJY
 5                    Plaintiff,
                                                                               ORDER
 6            v.
 7    COMMISSARY OF CLARK COUNTY
      DETENTION CENTER,
 8
                      Defendant.
 9

10          On September 22, 2020, Plaintiff, an inmate in the custody of the Clark County Detention
11   Center (“CCSD”), filed what appears to be a proposed complaint, thereby initiating a civil action in
12   this Court. ECF No. 1-1. Plaintiff has neither paid the $400 filing fee for this matter. Plaintiff also
13   has not filed an application to proceed in forma pauperis.
14          Under 28 U.S.C. § 1915(a)(2) and Local Rule LSR 1-2, an inmate seeking to commence a
15   civil action may apply to proceed in forma pauperis, which allows the inmate to file the civil action
16   without prepaying the full $400 filing fee. To apply for in forma pauperis status, the inmate must
17   submit all three of the following documents to the Court:
18          (1) a completed Application to Proceed in Forma Pauperis for Inmate, on this Court’s
19          approved form (i.e. pages 1 through 3 with the inmate’s two signatures on page 3),
20          (2) a Financial Certificate properly signed by both the inmate and a prison or jail official
21          (i.e. page 4 of this Court’s approved form), and
22          (3) a copy of the inmate’s prison or jail trust fund account statement for the previous
23          six-month period. If Plaintiff has not been at the facility a full six-month period, Plaintiff
24          must still submit an inmate account statement for the dates he has been present at the facility.
25          The Court grants Plaintiff a one-time extension to file a fully complete application to proceed
26   in forma pauperis containing all three of the required documents or, in the alternative, pay the $400
27   filing fee for this action on or before December 15, 2020. Absent unusual circumstances, the Court
28   will not grant any further extensions of time. If Plaintiff is unable to file a fully complete application
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 1   to proceed in forma pauperis with all three required documents or pay the full $400 filing fee on or

 2   before December 15, 2020, the Court will dismiss this case without prejudice for Plaintiff to file a

 3   new case with the Court when Plaintiff is able to acquire all three of the documents needed to file a

 4   fully complete application to proceed in forma pauperis or pay the $400 filing fee.

 5          A dismissal without prejudice means Plaintiff does not give up the right to refile the case

 6   with the Court, under a new case number, when Plaintiff has all three documents needed to submit

 7   with the application to proceed in forma pauperis. Alternatively, Plaintiff may choose not to file an

 8   application to proceed in forma pauperis and instead pay the filing fee of $400 on or before

 9   December 15, 2020 to proceed with this case.

10          The Court will retain Plaintiff’s complaint (ECF No. 1-1), but the Court will not file the

11   complaint unless and until Plaintiff timely files a fully complete application to proceed in forma

12   pauperis with all three documents or pays the full $400 filing fee.

13          For the foregoing reasons,

14          IT IS HEREBY ORDERED that the Clerk of the Court shall send Plaintiff the approved form

15   application to proceed in forma pauperis by an inmate, as well as the document entitled information

16   and instructions for filing an in forma pauperis application.

17          IT IS FURTHER ORDERED that on or before December 15, 2020, Plaintiff shall either pay

18   the full $400 filing fee for a civil action (which includes the $350 filing fee and the $50

19   administrative fee) or file with the Court:

20          (1) a completed Application to Proceed in Forma Pauperis for Inmate on this Court’s

21          approved form (i.e. pages 1 through 3 of the form with the inmate’s two signatures on page

22          3),

23          (2) a Financial Certificate properly signed by both the inmate and a prison or jail official

24          (i.e. page 4 of this Court’s approved form), and

25          (3) a copy of the inmate’s prison or jail trust fund account statement for the previous

26          six-month period. If Plaintiff has not been at the facility a full six-month period, Plaintiff

27          must still submit an inmate account statement for the dates he has been present at the facility.

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 1          IT IS FURTHER ORDERED that, if Plaintiff does not file a fully complete application to

 2   proceed in forma pauperis with all three documents or pay the full $400 filing fee for a civil action

 3   on or before December 15, 2020, the Court will dismiss this action without prejudice for Plaintiff

 4   to refile the case with the Court, under a new case number, when Plaintiff has all three documents

 5   needed to file a complete application to proceed in forma pauperis or pays the full $400 filing fee.

 6          IT IS HEREBY ORDERED that the Clerk of the Court shall retain Plaintiff’s complaint

 7   (ECF No. 1-1) but will not file it at this time.

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 9          Dated this 16th day of October, 2020.

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11
                                                            ELAYNA J. YOUCHAH
12                                                          UNITED STATES MAGISTRATE JUDGE
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